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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


   U NITED S TATES OF A MERICA
                                                Case No. 1:23-CR-047-MHC
   v.
   K RISTOPHER K NEUBUHLER


              NOTICE OF FINANCIAL DEPOSITION OF DEFENDANT

        TO:    Kristopher Kneubuhler
               c/o Steven Paul Berne
               Law Offices of Steven Berne
               Suite 100
               1441 Dunwoody Village Parkway
               Atlanta, GA 30338

               and

               Lawrence J. Zimmerman
               The Law Offices of Lawrence J. Zimmerman
               269 Roswell Street, NE
               Marietta, GA 30060

        PLEASE TAKE NOTICE that pursuant to 28 U.S.C. § 3015(b), and Federal

Rules of Civil Procedure 26 and 30, the undersigned attorney will take the financial

deposition of Kristopher Kneubuhler. The deposition will commence at 11:00 a.m.

ET on March 5, 2024 at the Office of the United States Attorney for the Northern

District of Georgia, 75 Ted Turner Drive, Ste. 600, Atlanta, Georgia 30303, and will
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continue from day to day until completed. The deposition will be recorded

stenographically.


Dated: February 2, 2024.


                                       RYAN A. BUCHANAN
                                       UNITED STATES ATTORNEY

                                       /s/ Vivieon K. Jones
                                       Vivieon K. Jones
                                       Assistant U.S. Attorney
                                       Georgia Bar No. 143033
                                       75 Ted Turner Drive SW, Suite 600
                                       Atlanta, Georgia 30303
                                       Telephone: (404) 581-6312
                                       E-mail: vivieon.jones@usdoj.gov


                               Certificate of Service

       This is to certify that, on February 2, 2024, I have electronically filed the
 foregoing document using the Court’s CM/ECF system, which sent an
 electronic notice of filing with a link to the document to all parties of record.
                                                     /s/Vivieon Kelly Jones




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